      Case: 1:02-cr-00854 Document #: 66 Filed: 06/20/06 Page 1 of 2 PageID #:102



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
        v.                                    )
                                              )   Case No. 02 CR 854-1
JEROME BASS                                   )
                                              )   The Honorable George W. Lindberg
                                              )
                                              )
                                       NOTICE OF MOTION

TO:     Michelle Weiss
        Assistant U.S. Attorney
        U.S. Attorney’s Office
        219 South Dearborn Street, 5th Floor
        Chicago, IL 60604

        Alison Siegler
        Federal Defender Program
        55 East Monroe Street, Suite 2800
        Chicago, IL 60603

        Lisa J. Kristie
        Senior U.S. Probation Officer
        Northern District of Illinois
        55 East Monroe Street, Suite 1500
        Chicago, IL 60603

PLEASE TAKE NOTICE that on June 28, 2006, at 9:30 a.m., or as soon thereafter as counsel
may be heard, the undersigned shall appear before the Honorable George W. Lindberg, in the
courtroom usually occupied by him at 219 South Dearborn Street, Chicago, Illinois, and then and
there present the attached Defendant’s Agreed Motion For Substitution of Counsel.


Dated: June 20, 2006                            Respectfully submitted,

                                                /s/ Shauna L. Fulbright
                                                Lori E. Lightfoot
                                                Shauna L. Fulbright
                                                MAYER, BROWN, ROWE & MAW LLP
                                                71 South Wacker Drive
                                                Chicago, IL 60606-4637
                                                (312) 782-8680/(312) 701-7711 – Facsimile
                                                Attorneys for Defendant Jerome Bass
      Case: 1:02-cr-00854 Document #: 66 Filed: 06/20/06 Page 2 of 2 PageID #:103



                                   CERTIFICATE OF SERVICE

          I, Shauna Fulbright, an attorney, certify that I caused a copy of this Notice of Motion and
Defendant’s Agreed Motion For Substitution of Counsel to be served by messenger and
electronic delivery this 20th day of June 2006 upon:


          Michelle Weiss
          Assistant U.S. Attorney
          U.S. Attorney’s Office
          219 South Dearborn Street, 5th Floor
          Chicago, IL 60604

          Alison Siegler
          Federal Defender Program
          55 East Monroe Street, Suite 2800
          Chicago, IL 60603

          Lisa J. Kristie
          Senior U.S. Probation Officer
          Northern District of Illinois
          55 East Monroe Street, Suite 1500
          Chicago, IL 60603




                                                               /s/ Shauna L. Fulbright
                                                              _______________________________

                                                                     Shauna L. Fulbright




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